Andro Tobus -ECEIVED

Name

 

 

 

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Mailing address
By [in ghanst lA 4 2S Clerk, U.S. District Court
City, State, Zip ‘ ‘Fairbanks, A\
360 S %o 2hL6
Telephone

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

Adrt ~ Pobi ay

(Enter full name of plaintiff in this action)

Case No.
Plaintiff, (To be supplied by Court)

vs. ; ‘A . /
fa C f qa Ks Ee Leal FL, (Ans COMPLAINT ERIE DE

42 U.S.C. "§ 1983

 

   

 

(NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use e¢ ai.)

Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

1. Plaintiff: This complaint alleges that the civil rights of {tx dety [ 04 4f
(print your name)

who presently resides at b eresal( O¢ ver , Bel f 14 harry, WA 7322S
(néilife address) ©

 

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

 

 

Defendant No. 1, mimae ke yt eltral yo, (di AG is a citizen of
(name) i?
Z- Ke , and is employed as a
(state) (defendant's government position/title)

S This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 2, is a citizen of
(name)

, and is employed as a
(state) (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.
OR
___The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, is a citizen of
(name)

 

, and is employed as a
(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____ The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename

the claims, “Claim 4,” “Claim 5, ete.”).

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Claim _1: On or about q, 7D. Yo! , my civil right to
[

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one viglation.)

. —~
was violated by [Pu bantey Pelta/ Pu ldrag
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.

Describe exact what each defendant, by name, did t violate the right alleged in Claim 1.):
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be deral bu; Laden s not ask he ts leaurlron my (ecg nity

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(QlleA Eke Carrboul —s poll ce Ant peseh LCL s/t i'ng
Charges, FEU the Faybantey Pela l baifliad/

Cr fpsn hs bi li ty too Ha me +9 ledve at C9 Siang, and
ty! @vp motets bbame sr c¢ Luw oa Tien

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Eve rel fi an db tla. The Seca ty geerd” Lcd te Fe
pal lyge ard fad cd beta Afny Tl ea = Ul been rat(p
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Claim 2: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Claim 3: On or about , my civil right to
(Date)

 

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court deali AN ith the same facts
involved in this action, or otherwise relating to your imprisonment? Ce Ss No

2. If your answer is “Yes,” describe each lawsuit.

a. Lawsuit 1:

Plaintiff(s): Artes o
Defendant(s. s)_ beer poe 77 = aa AS we
Name and location of con HLA HE Fate Gia tp AK

Ly! 0004 ~ Fri?
Docket numbeRe ee wtb 0 Soar hidge:

Approximate date case wasted Sa Tate of final decision:

 

 

 

Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $ C 9 09, O90

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2. Punitive damages in the amount of $

 

3. An order requiring defendant(s) to

 

4. A declaration that

 

5. Other:

Plaintiff demands a trial by jury. Yes \/ No

 

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and correct.

Executed at BP lléghon WA 71220 on BSN 9. rad

“ (Location) (Date)

(Plaintiff's Original Signature)

 

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney’s Address and Telephone Number

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